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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

CASE NO. 22-cr-00018-RMR

UNITED STATES OF AMERICA,

              Plaintiff,

v.

OSCAR DURON-DE LUNA,

            Defendant.
______________________________________________________________________________

     DEFENDANT’S MOTION TO DISMISS INDICTMENT WITH PREJUDICE
                      PURSUANT TO 18 U.S.C. § 3162(a)(2)
______________________________________________________________________________

       Defendant Oscar Duron-De Luna, through undersigned counsel, respectfully requests that

this Court dismiss the pending Indictment, with prejudice, due to a violation of the Speedy Trial

Act, 18 U.S.C. §§ 3161(c)(1), 3162(a)(2). In support thereof, Mr. Duron-De Luna would show as

follows:

       I.     Factual Background:

       On December 7, 2021, Mr. Duron-De Luna was arrested on a warrant issued subsequent to

the filing of a Petition for Warrant on Person Under Supervision in 17-CR-00202-PAB. The

petition, in part, was based on the allegation that Mr. Duron-De Luna violated the terms of his

supervision by re-entering the United States without permission. If found to have violated the

terms of his supervision, Mr. Duron-De Luna is facing up to a maximum of two years in federal

prison, followed by his deportation back to Mexico.
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        On February 11, 2022, two months after being arrested by the federal government, a new

Indictment was filed with this Court alleging a violation of 8 U.S.C. §§ 1326(a), (b)(1). The new

Indictment is based on the same facts and circumstances alleged in the Petition filed in

17-CR-00202-PAB. If convicted pursuant to the new Indictment filed in this case, § 7B1.3(f)

instructs Judge Brimmer to run any sentence imposed upon revocation in 17-CR-00202-PAB

consecutive to any sentence imposed in this case, despite the fact that both sentences would be

based on the same conduct; specifically, Mr. Duron-De Luna illegally reentering the United States.

        Due to the pending Indictment in this case, Mr. Duron-De Luna’s pending revocation has

been stalled for approximately ten months.

        II.     The Speedy Trial Act Requirements:

        “The dual purpose of the Speedy Trial Act is to protect a defendant’s constitutional right

to a speedy indictment and trial, and to serve the public interest in bringing prompt criminal

proceedings.” United States v. Saltzman, 984 F.2d 1087, 1090 (10th Cir. 1993) (quoting United

States v. Noone, 913 F.2d 20, 28 (1st Cir. 1990)). The Speedy Trial Act reads in relevant part:

        In any case in which a plea of not guilty is entered, the trial of a defendant charged
        in an information or indictment with the commission of an offense shall commence
        within seventy days from the filing date (and making public) of the information or
        indictment, or from the date the defendant has appeared before a judicial officer of
        the court in which such charge is pending, whichever date last occurs. If a defendant
        consents in writing to be tried before a magistrate judge on a complaint, the trial
        shall commence within seventy days from the date of such consent.

18 U.S.C. § 3161(c)(1).

        The Speedy Trial Act provides that certain periods of delay are not included in

computing the time limits for trial. One category of exclusion under the Speedy Trial Act

is particularly relevant in this case: delays attributable to pretrial motions.




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        18 U.S.C. § 3161(h)(1)(D) provides for the exclusion of periods of “delay resulting

from any pretrial motion, from the filing of the motion through the conclusion of the

hearing on, or other prompt disposition of, such motion.” Additionally, § 3161(h)(1)(H)

excludes “delay reasonably attributable to any period, not to exceed thirty days, during

which any proceeding concerning the defendant is actually under advisement by the court.”

        The Tenth Circuit has “explained that these subsections work in concert such that

‘if a motion is one that does not require a hearing, the Act excludes time through the period

of its prompt disposition, but only if that period does not exceed thirty days from the date

the motion is taken under advisement.’” United States v. Margheim, 770 F.3d 1312, 1318

(10th Cir. 2014) (quoting United States v. Williams, 511 F.3d 1044, 1048 (10th Cir. 2007)).

In other words, “[i]f under advisement, the maximum excludable delay for the court’s

determination is 30 days.” Id. at 1322 (quoting United States v. Willie, 941 F.2d 1384, 1387

(10th Cir. 1991) (emphasis in original)).

        In Henderson v. United States, 476 U.S. 321, 331 (1986), the Supreme Court

instructed that “[t]he provisions of the Act are designed to exclude all time that is consumed

in placing the trial court in a position to dispose of a motion.” The Supreme Court defined

“under advisement” to begin at “the time the court receives all the papers it reasonably

expects.” Id. at 329. In Margheim, the Tenth Circuit stated that it has interpreted

Henderson’s holding to mean that if the district court seeks “more information upon which

to make its ruling” on a motion, the advisement period does not begin “[u]ntil the court

obtains that information.” Margheim, 770 F.3d at 1322 (quoting Willie, 941 F.2d at 1388

n.2).




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III.   Speedy Trial Act Violation:

       Pursuant to 18 U.S.C. § 3161(c)(1), Mr. Duron-De Luna’s trial must commence within

70 days from the date that he initially appeared before a judicial officer of the court in which the

charge is pending. For Mr. Duron-De Luna, this was his Initial Appearance on February 11, 2022.

This would have placed Mr. Duron-De Luna’s original 70-day date on April 25, 2022. However,

subsequent to Mr. Duron-De Luna’s Initial Appearance, several periods of delay occurred,

excludable under 18 U.S.C. § 3161(h), which pushed back the date on which Mr. Duron-De Luna’s

trial must commence:

       1.      On April 22, 2022, undersigned counsel filed a Notice of Disposition with the

Court. Pursuant to 18 U.S.C. § 3161(h)(1)(G), the filing of the Notice of Disposition tolled the

Speedy Trial Clock.

       2.      On June 13, 2022, the Court allowed Mr. Duron-De Luna to withdraw his Notice

of Disposition. Accordingly, pursuant to Federal Rule of Criminal Procedure 45(a)(1)(A), which

instructs to exclude the day of the event that triggers the period, the Speedy Trial Clock was set to

begin anew on June 14, 2022.

       3.      On June 14, 2022, undersigned counsel filed a pretrial motion requesting the

Court’s leave to exceed the Court’s page limitations pertaining to pretrial motions. Pursuant to

18 U.S.C. § 3161(h)(1)(D), this again tolled the Speedy Trial Clock.

       4.      On June 15, 2022, undersigned counsel filed an additional pretrial motion with the

Court, seeking the dismissal of the pending Indictment. Pursuant to 18 U.S.C. § 3161(1)(h)(D),

this pretrial motion further tolled the Speedy Trial Clock.




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       5.      Subsequently, the Government filed its Response to the Motion to Dismiss the

Indictment on June 27, 2022. Then, on July 1, 2022, undersigned counsel filed a Reply to the

Government’s Response.        The entirety of this time was excludable under 18 U.S.C.

§ 3161(h)(1)(D).

       6.      On July 26, 2022, the Court issued an Order requesting supplemental briefing and

also scheduled an Evidentiary Hearing for August 24, 2022. Pursuant to 18 U.S.C.

§ 3161(h)(1)(D), this time was excludable as well. “Delay resulting from the filing of a pretrial

motion, from the filing of the motion through the conclusion of the hearing on…”

       7.      On August 5, 2022, the Government filed its Supplemental Brief.

       8.      On August 12, 2022, undersigned counsel filed his Supplemental Brief.

       9.      On August 16, 2022, the Court vacated the Evidentiary Hearing and took the

Defendant’s Motion to Dismiss the Indictment under advisement. Accordingly, pursuant to

18 U.S.C. § 3161(h)(1)(H), “delay attributable to any period, not to exceed thirty days, during

which any proceeding concerning the defendant is actually under advisement by the court,” may

be excluded when computing the time within which the trial must commence.

       10.     Excluding 30 days from August 17, 2022, the Speedy Trial Clock began running

again on September 17, 2022. With only four days remaining, this means that the Speedy

Trial Clock ran out on September 20, 2022.

       IV.     Remedy:

       “When a defendant demonstrates a violation of the Act, the proper remedy is

dismissal of the indictment.” Margheim, 770 F.3d at 1318. “[T]he district court retains

broad discretion whether to dismiss the indictment with or without prejudice.” Id. (quoting

United States v. Abdush-Shakur, 465 F.3d 458, 462 (10th Cir. 2006)). “In determining



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whether to dismiss the case with or without prejudice,” the Speedy Trial Act requires the

Court to “consider, among others, each of the following factors: the seriousness of the

offense; the facts and circumstances of the case which led to the dismissal; and the impact

of a reprosecution on the administration of this chapter and on the administration of

justice.” 18 U.S.C. § 3162(a)(2).

                 1.     Illegal Reentry is not a serious offense:

         Illegally reentering the United States is a non-violent status offense. The criminal

offense is akin to overstaying one’s visa. The latter, however, is not deemed a criminal

offense in the United States. And despite being a federal felony offense punishable, in this

case, by up to 120 months, the average sentence imposed for a violation of 18 U.S.C.

§ 1326 belies any argument by the government that, based on the statutory range alone,

illegally reentering the country should be seen as a serious offense.

         A study commissioned by the Sentencing Commission in 2015, prior to the major

revisions made to the Illegal Reentry guideline, § 2L1.2, found that out of 18,498 illegal

reentry offenders, the average sentence was 18 months.1 Of these 18,498 illegal reentry

cases, 40% of the defendants (approximately 7,400) had serious criminal histories

sufficient to trigger the statutory maximum sentence of 20 years under § 1326(b)(2). Yet,

despite being eligible for up to 20 years in prison, only two out of the 7,400 defendants

were actually sentenced above 10 years. This means the worst of the worst, capable of

receiving two decades in prison for being in the United States without permission, received

at or below the 10-year maximum sentence under § 1326(b)(1).




1
    https://www.ussc.gov/research/research-publications/illegal-reentry-offenses
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       As it pertains to Mr. Duron-De Luna, in 2014, a year prior to the Commission’s

study of sentencing practices under § 2L1.2, despite facing an indictment alleging a

maximum sentence of 120 months, his ultimate sentence for illegally reentering the country

was 6 months in federal prison.2 Three years later, Mr. Duron-De Luna faced an additional

prosecution for illegal reentry. Again, despite a maximum sentence of 120 months being

available to the court, Mr. Duron-De Luna was sentenced to 12 months, a sentence twice

as severe as the sentence he received in 2014, but far removed from the statutory maximum

of 120 months.3

       In 2016, the Commission completely overhauled the guideline provision applicable

to illegal reentry offenses, § 2L1.2. A large part of the motivation for revising the guideline

was to make it less severe.4 The 2015 study, along with testimony from both bench and

bar, showed that the former version of the guidelines, which carried 12- and 16-level

specific offense characteristic enhancements, resulted in overly harsh sentencing

recommendations.5 In fact, in fiscal year 2015 alone, only 29.7% of defendant’s who

received a 16-level enhancement were sentenced within the applicable guidelines.

Meaning 71.1% received a downward variance at sentencing. And, during the same fiscal

year, only 32.4% of defendants who received a 12-level enhancement were sentenced




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  14-CR-00291-PAB.
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  17-CR-00202-PAB.
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  https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-
amendments/20160428_RF.pdf
5
  Prior to November 1, 2016, a defendant with a criminal history of VI, who received the
harshest sentencing enhancement, 16-levels, faced a recommended sentence of 77 to 96 months.
Defendants with a similar criminal history who received the 12-level enhancement, faced
sentencing recommendations of 57 to 71 months.
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within the guidelines. Meaning, roughly 67% of the defendants received a downward

variance at sentencing.

       Given the Commission’s attempt to lessen the severity of illegal reentry sentences,

along with the extremely low-average sentence received for a conviction under 8 U.S.C.

§ 1326, coupled with the fact that the offense itself is a non-violent status offense, this

Court should find that it is not a serious offense for purposes of determining whether the

Indictment should be dismissed with prejudice pursuant to 18 U.S.C. § 3162(a)(2).

       In United States v. Flores-Escobar, 2021 WL 3022987 (S.D. Ohio, Jan. 16, 2021),

Chief Judge Marbley noted that “[s]ister courts within the Sixth Circuit have held that

illegal re-entry is not a serious offense because the charge carries no mandatory minimum

sentence, and the maximum penalty is only two years, absent aggravating factors.” Id. at

*4 (citing United States v. Pascual, No. 1:19-cr-44, 2019 U.S. Dist. LEXIS 125498, at *4,

2019 WL 3414390 (E.D. Tenn. July 29, 2019); United States v. Franco-Bonilla,

No. 3:05-00101, 2005 U.S. Dist. LEXIS 31308, at *10 (M.D. Tenn. Nov. 16, 2005)).

       However, unlike the defendants in Pascual and Franco-Bonilla, Mr. Flores-

Escobar, similar to Mr. Duron-De Luna, faced an aggravated penalty based on a prior

felony conviction. Despite this factual distinction, Chief Judge Marbley found that while

“[a] prior conviction for an aggravated felony increases the potential penalty for a

conviction of illegal-reentry…an immigrant convicted of an aggravated felony still has no

mandatory minimum prison sentence.” Id. This, along with the fact that illegal reentry is

not a violent crime, coupled with the fact that Mr. Flores-Escobar had no additional

criminal convictions since his prior conviction a decade earlier, led Chief Judge Marbley




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to find that illegal reentry was not a serious offense and, after weighing the remaining

factors, dismissed the indictment with prejudice.

       Taking a slightly different approach, but reaching the same conclusion, District

Judge Vukasin used the Parole Commission’s offense grading system as a guide to

determine whether immigration-related offenses should be treated as serious offenses when

determining whether to dismiss an indictment with or without prejudice for a Speedy Trial

Act violation. In United States v. Osunde, 638 F.Supp. 171, 175 (N.D. Cal. 1986), Judge

Vukasin held that, “in determining whether an offense is serious for purposes of dismissal

with prejudice, the Court may consider the United States Parole Commission’s grading of

the offenses.” Id. On a scale of one to eight, Judge Vukasin found that the Parole

Commission classifies the offense involving immigration, naturalization, and passports, at

a level two. Id. The low-level grading by the Parole Commission, along with the relatively

minor violations the defendant was facing, offenses that did not involve physical violence

or monetary loss, led Judge Vukasin to find that they were non-serious, which weighed

towards dismissal with prejudice. Id.

       The offenses that the defendant faced in Osunde, which were deemed to be

non-serious, were falsely representing oneself as a United State citizen and falsifying a

material fact on a passport application. Id. at 173. These immigration-related offenses

were classified as level two offenses under the Parole Commission’s grading system.

Mr. Duron-De Luna, on the other hand, is charged with illegal reentry, which is classified

as an offense category I, the lowest level of categorization for federal offenses. See

28 C.F.R. § 2.20, Chapter Four.




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         Succinctly put, a violation of 8 U.S.C. § 1326(a), (b)(1) or (b)(2) does not involve

 physical violence or loss to any aggrieved party. It is a status offense for which, as of fiscal

 year 2020, receives on average a sentence of 8 months.6 This offense, compared with other

 federal offenses, is a non-serious offense that weighs in favor of this Court finding that the

 pending motion should be dismissed with prejudice.

                 2.      The Facts and Circumstances of the Case that Led to the Dismissal

         Mr. Duron-De Luna’s Motion to Dismiss the Indictment was under advisement for

 a period of 48 days, which is 18 days in excess of the 30 days allowed pursuant to 18 U.S.C.

 § 3161(h)(1)(H). However, “responsibility for enforcement of the Speedy Trial Act is not

 the exclusive burden of the District Court.” United States v. Osunde, 638 F.Supp. at 175

 (citing United States v. Perez-Reveles, 715 F.2d 1348, 1353 (9th Cir. 1983).               The

 government shares in this obligation. Id. And while undersigned counsel is unaware of

 any evidence of affirmative misconduct in the delay, even negligence on behalf of the

 government to ensure a prompt and speedy disposition of the criminal charge can weigh in

 favor of dismissing the charges with prejudice. See United States v. Flores-Escobar, 2021

 WL 3022987 at *4.

                 3.      Impact of Reprosecution on the Administration of the Speedy Trial
                         Act.

 Dismissal without prejudice is a toothless remedy for violating Mr. Duron-De

 Luna’s and the public’s right to swift prosecution. In fact, “dismissal without prejudice

 can be viewed as frustrating the Act’s mandate of swift prosecution.” United States v.

 Vasquez-Escobar, 30 F.Supp.2d at 1369. Mr. Duron-De Luna was arrested almost one

 year ago and
 6
   https://www.ussc.gov/sites/default/files/pdf/research-and-publications/quick-
 facts/Illegal_Reentry_FY20.pdf
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 has been in custody ever since awaiting the prompt disposition of both his pending

 revocation and this pending Indictment. If the Court were to dismiss his case without

 prejudice, the 70-day clock would reset upon the government’s refiling of either a Criminal

 Complaint and/or Indictment, meaning Mr. Duron-De Luna will be in custody for an even

 lengthier period of time awaiting the disposition of this charge, his revocation, and then,

 ultimately, his deportation. This seems at odds with the Speedy Trial Act’s emphasis on

 swift prosecutions. As such, this factor should weigh in favor of dismissal with prejudice.

                4.        Impact of Reprosecution on the Administration of Justice

        Dismissal with prejudice will not impede the administration of justice. “If the

 defendant was convicted following re-indictment, he would be subject to deportation

 following any custodial sentence the Court might impose.” United States v. Osunde, 638

 F.Supp. at 175. “If the defendant was to be acquitted, he would still be subject to

 deportation.” Id. “In short, the result will be the same; deportation is inevitable.” Id. at

 176. “Accordingly, dismissal with prejudice is the most expedient avenue by which to

 achieve the inevitable.” Id. “The interests of justice would be served by such a dismissal,

 because, although he may have committed the charged crimes, the defendant will not be

 allowed to continue enjoying the benefits of, and the protections concurrent with, residence

 in the United States.”

        A similar conclusion was reached by the court in Vasquez-Escobar. There, the

 government argued that reindictment would serve the public interest by deterring him and

 others from illegally reentering this county in the future. United States v. Vasquez-

 Escobar, 30 F.Supp. at 1368. Countering, the court noted that Mr. Vasquez-Escobar would

 still be deported regardless of whether the indictment is dismissed with or without



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 prejudice, “justice will be served to the extent that he will not be allowed to continue

 enjoying the benefits of, and the protections concurrent with, residence in the United

 States.” Id. at 1369.

         Again, the same conclusion was reached in United States v. Pena, 73 F.Supp.2d 56,

 61 (D. Mass. 1999). There, the court found no evidence suggesting that dismissing the

 case with prejudice will allow a criminal dangerous to the community or country go free.

 Id. In addition, the court noted that the defendant would be promptly deported and, as

 such, he would not be a threat to commit crimes in the United States in the near future. Id.

         Here, there is no doubt that Mr. Duron-De Luna will be deported if this Court

 dismisses the pending indictment with prejudice. However, unlike the defendants above,

 Mr. Duron-De Luna still awaits revocation in 17-CR-00202-PAB for violating his term of

 federal supervision by, inter alia, reentering the United States without permission. So even

 if this Court dismisses the Indictment with prejudice, Mr. Duron-De Luna will still face up

 to 2 years in federal prison for returning illegally. Justice will still be served. As such, this

 factor should weigh in favor of dismissing the pending Indictment with prejudice.

                 5.      Mr. Duron-De Luna has been Prejudiced by the Delay

         “Prejudice to the defendant is among the ‘other’ factors the text of § 3162 directs

 the district court to consider.” Abdush-Shakur, 465 F.3d at 462 (citing United States v.

 Taylor, 487 U.S. 326, 334 (1988)). Here, Mr. Duron-De Luna has actually been prejudiced

 by the delay in his prosecution because “he has been detained for the duration of the

 proceedings. The delay, therefore, has caused him a loss of liberty.” United States v.

 Flores-Escobar, 2021 WL 3022987 at *4. This alone is sufficient prejudice to support

 dismissal with prejudice.



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         In addition to his continued loss of liberty, Mr. Duron-De Luna has suffered

 prejudice in his personal life as well. While detained throughout the pendency of this case,

 authorities in Jefferson County, Colorado, have sought to take custody of his children from

 their mother.7 While Mr. Duron-De Luna is doing what he can to help his kids from behind

 bars, this assistance is very limited.     Without being free from custody to assume

 responsibility for his children, they are at risk of being removed from their home and placed

 in foster care.

         Mr. Duron-De Luna’s continued loss of liberty and the threatened loss of his

 children weigh in favor of this Court dismissing the pending indictment with prejudice. In

 so doing, Mr. Duron-De Luna will not be immediately released or deported. First,

 Mr. Duron-De Luna will have to serve whatever custodial sentence Chief Judge Brimmer

 hands down in 17-CR-00202-PAB. Then, Mr. Duron-De Luna will be deported to Mexico.

 Hopefully, once in Mexico, Mr. Duron-De Luna can assist his family with the struggles

 they are currently facing.

         V.        Conclusion:

         Mr. Duron-De Luna was not brought to trial within the time limit required by

 18 U.S.C. § 3161(c) as extended by 18 U.S.C. § 3161(h).          Accordingly, pursuant to

 18 U.S.C. § 3162(a)(2), this Court must dismiss the Indictment. By so doing, this Court

 has the discretion to dismiss with prejudice. Mr. Duron-De Luna asks that this Court do

 just that. The pending charge is not a serious offense. It is a non-violent status offense

 where no physical or economic harm has occurred. And while the facts and circumstances



 7
   Mr. Duron-De Luna provided undersigned counsel with case #22-JV-30152. Due to the
 involvement of juveniles, undesigned counsel has not been able to find the case online or access
 any of the documents involved.
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 leading to dismissal might not militate towards dismissal with prejudice, the remaining

 factors do. Dismissing without prejudice would frustrate the core focus of the Speedy Trial

 Act: swift prosecution. Furthermore, justice will be served through the pending revocation

 in 17-CR-00202-PAB and the certain deportation of Mr. Duron-De Luna from the United

 States. Furthermore, Mr. Duron-De Luna has suffered actual prejudice due to the delay.

 Mr. Duron-De Luna has lost his liberty and may soon lose his children. Overall, the

 § 3162(a)(2) factors weigh in favor of dismissing the pending Indictment with prejudice.


                                              Respectfully submitted,

                                              VIRGINIA L. GRADY
                                              Federal Public Defender


                                              /s/ Matthew K. Belcher
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                                              Attorney for Defendant




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                                CERTIFICATE OF SERVICE

        I certify that on October 18, 2022, I electronically filed the foregoing Defendant’s
 Motion to Dismiss Indictment with Prejudice Pursuant to 18 U.S.C. § 3162(A)(2) with the
 Clerk of Court using the CM/ECF system, which will send notification of such filing to the
 following email address:

        Albert C. Buchman, Assistant U.S. Attorney
        Email: al.buchman@usdoj.gov

 and I will serve the document or paper to the following non-CM/ECF participant in the manner
 indicated:

        Oscar Duron-De Luna (via mail)


                                             /s/ Matthew K. Belcher
                                             MATTHEW K. BELCHER
                                             Assistant Federal Public Defender
                                             Office of the Federal Public Defender




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